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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------X                  10/29/2020
NATIONAL COALITION ON BLACK CIVIC :
PARTICIPATION, et al.              :
                                   :
                    Plaintiffs,    :    20 Civ. 8668 (VM)
                                   :
     - against -                   :    DECISION AND ORDER
                                   :
JACOB WOHL, et al.                 :
                                   :
                    Defendants.    :
-----------------------------------X
VICTOR MARRERO, United States District Judge.

     On October 28, 2020, this Court issued a Decision and
Order     in    the       above   referenced    matter,   granting   the
Plaintiffs’ motion for a temporary restraining order. (See
Dkt. No. 38.) That order directed Defendants to, among other
things,    issue      a    curative   message   and   “produce   records
sufficient to demonstrate compliance” by Thursday, October
29, 2020 at 5:00 p.m. Having received a letter from Defendants
on October 29, 2020 (see Dkt. No. 43), the Court will hold a
hearing on Friday, October 30, 2020 at 10:00 a.m. to review
the status of Defendants’ compliance with the October 28,
2020 Decision and Order and give Defendants an opportunity to
show cause why they should not be held in contempt of court
for any noncompliance the Court finds.
     In light of the ongoing public health emergency, the
conference shall proceed via teleconference. The parties are
directed to use the dial-in number 888-363-4749, with access
code 8392198.


SO ORDERED:

Dated:         New York, New York
               29 October 2020
